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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO; 22-CR-20057-ALTMAN

   . UNITED STATES OF AMERICA

    vs.

    MARY WICKERSHAM,
      a/k/a "Mary Sullivan,"
      a/k/a "Mary Harvey,"


    ________________
          Defendant.
                                                ./

                                         FACTUAL PROFFER

           The United States of America and Mary Wickersham (the "Defendant") agree that, were

    this case to proceed to trial, the United States would prove beyond a reasonable doubt the following

    facts, among others, which occurred in the Southern District of Florida:

           Since 2002, the Defendant served as the Executive Director of Miss Florida Scholarship

    Program Inc. (the "Miss Florida Scholarship Program"). The Miss Florida Scholarship Program

    is a scholarship program offering educational and financial assistance opportunities for young

    women who enter into various events hosted by the Miss Florida Scholarship Program. As its

    Executive Director, the Defendant had direct access to the Miss Florida Scholarship Program's

    sponsorships and donations information, including the direct receipt of donation checks from

    sponsors and donors, which she was instructed to deposit into the program's bank accounts.

           In or around December 2011, the Defendant formed a separate Florida corporation named

    "Miss· Florida LLC." Miss Florida LLC was not affiliated with the Miss Florida Scholarship

    Program and the entity was formed without the knowledge or authorization of the Miss Florida

    Scholarship Program's Board of Directors.
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           On or about December 22, 2011, the Defendant used the Miss Florida LLC entity to open

    a Bank of America checking account for Miss Florida LLC, also without the knowledge or

    authorization of the Miss Florida Scholarship Program's Board of Directors.

           The Defendant then used her position as Executive Director tq solicit donations and

    contributions from the program's recun-ing business sponsors and donors, all while representing

    that those monies would be used to fund scholarships and events hosted or promoted by the Miss

   . Florida Scholarship Program and its partners.      Among these partnerships was an official

    relationship with the Children's Miracle Network, whereby rather than requesting entry fees from

    program contestants, the Miss Florida Scholarship Program· asked the contestants to make

    contributions to the Children's Miracle Network in order. to participate       111   the program's

    competitions.

             However, from in or around 2011 through in or around 2018, the Defendant

    misappropriated checks and money orders that were issued to the Scholarship Program and its

    partners-including the Children's Miracle Network-and instead fraudulently deposited them

    into the Miss Florida LLC bank account that she controlled at Bank of America, including for her

    own use and benefit. In addition, the Defendant altered four of the checks a,nd money orders that

    were made payable to the Children's Miracle Network, writing "Miss Florida Pageant" by hand

    on the payee line of those checks or money orders, when those funds were in fact solely intended

    for the Children's Miracle Network in connection with the partnered events. Those checks and

    money orders were then deposited into the Miss Florida LLC account controlled and used by the

    Defendant.

           For example, on or about July 28, 2017, the Defendant altered a check (dated June 16,

    2017) made out to the Children's Miracle Network (ending in 5673) in the approximate amount of



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   $420, by adding the words "Miss Florida Pageant" in handwriting, which she then deposited into

   the Miss Florida LLC checking account, causing an interstate wire transmission from inside the

   State of Florida to outside the State of Florida. The funds were ultimately deposited in the

   Defendant's bank account located in Miami-Dade County. Byidoing so, the Defendant represented

   to Bank of America that she was authorized to deposit that check, into her Miss Florida LLC

   account, when in fact neither 1:epresentation was true. The Defendant did not use all of the money

   deposited into. that account that was earmarked for the ~cholarship Program and its partners for
                                                                         /
   the intended purposes instead using used some of it to pay for personal expenses.

           The parties agree that these facts, which do not include all facts known to the government

   and the Defendant, are sufficient to prove that the Defendant, committed the crime of Wire Fraud,

   in violation of Title 18, United States Code, Section 1343.


                                                  JUAN ANTONIO GONZALEZ
                                                  UNITED STATES ATTORNEY


   Date:                                    By:     ~z4L-:
                                                  EDUARDO GARDEA, JR.
                                                  AS          ED STA: ES ATTORNEY


   Date:

                                                                             ATESATTO


   Date:                                    By: _ _ _ ____.__ _ _----'----------
                                                GERALD E. GREENBERG, ESQ.
                                                ATTORNEY FOR THE D PENDANT




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